
USCA1 Opinion

	













                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 95-1375

                             ELBA ROBLES-VAZQUEZ, ET AL,

                               Plaintiffs, Appellants,

                                          v.

                             RAUL TIRADO GARCIA, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                [Hon. Gilberto Gierbolini, Senior U.S. District Judge]
                                           __________________________
                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________

                           Campbell, Senior Circuit Judge,
                                     ____________________

                           and DiClerico,* District Judge.
                                           ______________

                                 ____________________

            Guy L. Heinemann, with whom Edelmiro Salas Garcia was on brief
            ________________            _____________________
        for appellants.
            Sylvia Roger-Stefani, Assistant Solicitor General, with whom
            ____________________
        Carlos Lugo-Fiol, Solicitor General, and Edda Serrano-Blasini, Deputy
        ________________                         ____________________
        Assistant Solicitor, Department of Justice, were on brief for
        appellees.

                                 ____________________

                                    April 10, 1997
                                 ____________________


                            
        ____________________

        *Of the District of New Hampshire, sitting by designation.















                      CAMPBELL,  Senior  Circuit   Judge.     Plaintiffs-
                                 _______________________

            appellants  appeal  from  an  order  of  the  district  court

            vacating an  earlier $2.25 million judgment  following a jury

            verdict in plaintiffs-appellants'  favor on their  individual

            claims  under   42  U.S.C.      1983  and  the   Puerto  Rico

            Constitution.  At issue is the power of the district court to

            grant judgment as a matter of law after a jury's verdict on a

            ground never raised by the parties prior to submission of the

            case to the jury.  We reverse.

                                          I.

                      We state the  facts in the light most  favorable to

            the verdict.    See  Aetna  Casualty Surety  Co.  v.  P  &amp;  B
                            ___  ___________________________      _______

            Autobody, 43 F.3d 1546, 1552 (1st Cir. 1994).
            ________

                      On  the  night  of  August  26,  1991,  defendants-

            appellees  Raul  Tirado  Garcia  and Julio  Olivares  Febles,

            assistant  marshals of  the  Superior Court  of Puerto  Rico,

            arrested  Meraldo Bran
                                 ~
                                  a Cruz  at his  home for  nonpayment of

            child  support pursuant to a valid arrest warrant.  Bran
                                                                   ~
                                                                    a had

            no criminal record,  and the  marshals did  not consider  him

            dangerous;  they did not handcuff or frisk him before placing

            him in the back seat of the patrol car.

                      During the drive, Bran
                                           ~
                                            a asked if they could stop by

            a phone so he could call a relative to arrange for payment of

            his child support arrearage.  The police officers agreed, but

            Bran
               ~
                a  took advantage of the  opportunity to make his escape.



                                         -2-
                                          2















            During the  subsequent pursuit on foot,  Tirado fired several

            shots at Bran
                        ~
                         a, one of which hit him in the back of his leg.

                      When Tirado  caught up with  Bran
                                                      ~
                                                       a, he shot  him in

            the back at close  range.  Bran
                                          ~
                                           a collapsed, and  the marshals

            brought  him to  the  hospital.   Despite extensive  surgery,

            Bran
               ~
                a continued  to endure excruciating  pain, post-traumatic

            stress  syndrome, chronic  depression,  stomach  problems,  a

            swollen leg,  back pain, and a limp.  He died on December 24,

            1992 of cardiac arrhythmia,  caused by the prescription drugs

            he had been taking for the pain.

                      Bran
                         ~
                          a   sued,   among   others,   Tirado   and  the

            Commonwealth of Puerto Rico under 42 U.S.C.   1983,1 alleging

            that Tirado  had used  excessive  force in  violation of  the

            Fourth  and  Fourteenth  Amendments   to  the  United  States

            Constitution2 and Article II,    7 and 10 of the  Puerto Rico




                                
            ____________________

            1.  42 U.S.C.   1983 states, in relevant part, "Every person
            who, under color of any statute, ordinance, regulation,
            custom, or usage, of any State or Territory . . . subjects,
            or causes to be subjected, any citizen of the United States
            . . . to the deprivation of any rights, privileges, or
            immunities secured by the Constitution and laws, shall be
            liable to the party injured in an action at law . . . ."

            2.  The Fourth Amendment to the United States Constitution
            states, in relevant part, "The right of the people to be
            secure in their persons, houses, papers, and effects, against
            unreasonable searches and seizures, shall not be violated
            . . . ."  
                 The Fourteenth Amendment states, in relevant part,
            "[N]or shall any State deprive any person of life, liberty,
            or property, without due process of law . . . ."

                                         -3-
                                          3















            Constitution.3  After Bran
                                     ~
                                      a'sdeath, his common-law wife, Elba

            Robles-Vasquez,  and  his  six  children  prosecuted  Bran
                                                                     ~
                                                                      a's

            surviving claims as  his heirs.   His wife  and the  children

            also  sought recovery  individually  for their  own pain  and

            suffering, emotional  distress, and other damages, relying on

            similar  provisions  of the  United  States  and Puerto  Rico

            Constitutions.

                      At  the  close   of  the   plaintiffs'  case,   the

            defendants moved for judgment  as a matter of law  under Fed.

            R. Civ.  P. 50(a).  This  motion did not include  as a reason

            for dismissal of the  wife's and children's individual claims

            that  Tirado's actions  had in  no way  been directed  at the

            relationship between  Bran
                                     ~
                                      a and his wife and  children.4  The

            court denied the motion.

                                
            ____________________

            3.  Article II,   7 of the Puerto Rico Constitution states,
            in relevant part, "No person shall be deprived of his liberty
            or property without due process of law."
                 Article II,   10 of the Puerto Rico Constitution states,
            in relevant part, "The right of the people to be secure in
            their persons, houses, papers and effects against
            unreasonable searches and seizures shall not be violated."

            4.  First Circuit case law holds that surviving family
            members cannot recover in an action brought under   1983 for
            deprivation of rights secured by the federal constitution for
                                                                      ___
            their own damages from the victim's death unless the
            _________________
            unconstitutional action was aimed at the familial
            relationship.  See, e.g., Manarite v. City of Springfield,
                           ___  ____  ________    ___________________
            957 F.2d 953, 960 (1st Cir.), cert. denied, 506 U.S. 837
                                          ____________
            (1992).  "State action that affects the parental relationship
            only incidentally, however, even though the deprivation may
            be permanent, as in the case of unlawful killing by the
            police, is not sufficient to establish a violation of a [sic]
            identified liberty interest."  Pittsley v. Warish, 927 F.2d
                                           ________    ______
            3, 8 (1st Cir. 1991).

                                         -4-
                                          4















                      The  jury  found  in  Bran
                                               ~
                                                a's  favor  in  his  own,

            surviving action,  awarding to his heirs,  on Bran
                                                             ~
                                                              a's behalf,

            one million  dollars in compensatory damages  and $500,000 in

            punitive  damages.  The jury  also awarded to  Robles and the

            children, in the claims  brought on their individual behalfs,

            $250,000  each  in  compensatory   damages  and  $500,000  in

            punitive damages to the group as a whole.  

                      The  court  remitted  the  punitive   damages  from

            Bran
               ~
                a's own claims to  $250,000.  No appeal has  been brought

            from the judgment entered upon Bran
                                              ~
                                               a's claims. 

                      The court, however, granted part of the defendants'

            Rule 50(b) Motion for Renewal of the Motion For Judgment as a

            Matter  of  Law  and  dismissed  the  wife's  and  children's

            individual claims under   1983, holding that Tirado's conduct

            was not  aimed at interfering with  Bran
                                                   ~
                                                    a's relationship with

            his family as  required by First Circuit case law.  See infra
                                                                ___ _____

            note  6.  In a footnote, the court also dismissed plaintiffs-

            appellants'   similar   claims    under   the   Puerto   Rico

            Constitution,  saying  they were  "of  the same  ilk"  as the

            federal  constitutional claims.   As  a result,  the district

            court dismissed so  much of  the jury's award  as granted  an

            additional $1,750,000 in  compensatory damages, and  $500,000

            in  punitive  damages, to  the  wife  and children  in  their

            individual rights.   The  plaintiffs appeal from  the court's

            granting of the part of the Rule 50(b) motion.



                                         -5-
                                          5















                                         II.

                      Plaintiffs-appellants'  primary argument  on appeal

            is that  defendants-appellees waived the  contention that, as

            Tirado's  alleged unconstitutional  action against  Bran
                                                                   ~
                                                                    a was

            not aimed at  the latter's relationship with  his family, the

            plaintiff family  members could not recover  their individual

            damages  resulting from Bran
                                       ~
                                        a's injury  and death.  See infra
                                                                ___ _____

            note 6.   The defendants did  not raise this point  of law in

            any pre-trial motion, nor did they raise it in the Rule 50(a)

            motion filed at trial.   Also, the defendants did  not object

            to the court's jury instructions which authorized the jury to

            award damages  to the individual  family members and  made no

            mention before the  jury retired of  any legal limitation  of

            this nature.  

                      The  first reference  to  the issue  surfaced in  a

            rather weak suggestion of the point  in defendants-appellees'

            post-verdict renewed motion for judgment  as a matter of  law

            made under Fed. R.  Civ. P. 50(b).  However,  "[a] post-trial

            motion for judgment can  be granted only on  grounds advanced

            in the pre-verdict motion."   Fed. R. Civ. P.  50(b) advisory

            committee's note to  the 1991 amendment; see  also Sanchez v.
                                                     _________ _______

            Puerto Rico Oil Co., 37 F.3d 712, 723 (1st Cir. 1994) (same).
            ___________________

            "The  purpose of the Rule  50(b) requirement is  to alert the

            opposing party to the  movant's claim of insufficiency before

            the case goes to the jury,  so that his opponent may possibly



                                         -6-
                                          6















            cure any deficiency in his case should the motion have merit,

            and also  so that the judge  may rule on the  adequacy of the

            evidence  without   impinging  on  the   jury's  fact-finding

            province."   Martinez Moll v.  Levitt &amp; Sons  of Puerto Rico,
                         _____________     ______________________________

            Inc., 583 F.2d 565, 569 (1st Cir. 1978).  
            ____

                      An appellate  court may not ordinarily  consider an

            issue raised for the first time in a Rule 50(b) motion on the

            merits.  See id.  at 568.  "[T]he  exceptions [to this  rule]
                     ___ ___

            are few  and far between, and appellate discretion should not

            be  affirmatively exercised  unless  error is  plain and  the

            equities heavily  preponderate in  favor  of correcting  it."

            Correa v.  Hospital San  Francisco, 69  F.3d 1184,  1196 (1st
            ______     _______________________

            Cir. 1995), cert. denied, 116 S. Ct. 1423 (1996).5  
                        ____________

                      A district court has no more leeway than a court of

            appeals  to consider  an  issue raised  post-verdict for  the

            first  time in a Rule  50(b) motion.   See generally American
                                                   _____________ ________

            and Foreign Insurance Company v.  Bolt, 106 F.3d 155,  159-60
            _____________________________     ____

            (6th Cir. 1997)  ("While it is accepted that  a judge may sua

                                
            ____________________

            5.  Similarly, a failure to object to jury instructions
            constitutes a waiver.  Fed. R. Civ. P. 51 states, in relevant
            part, "No party may assign as error the giving or the failure
            to give an instruction unless that party objects thereto
            before the jury retires to consider its verdict, stating
            distinctly the matter objected to and the grounds of the
            objection."  See also Putnam Resources v. Pateman, 958 F.2d
                         ________ ________________    _______
            448, 456 (1st Cir. 1992) ("Silence after instructions . . .  
            typically constitutes a waiver of any objections."); La Amiga
                                                                 ________
            del Pueblo, Inc. v. Robles, 937 F.2d 689, 690-91 (1st Cir.
            ________________    ______
            1991) (holding that unobjected to jury instructions become
            the law of the case); Quinones-Pacheco v. American Airlines,
                                  ________________    __________________
            Inc., 979 F.2d 1, 4 n.3 (1st Cir. 1992) (same).
            ____

                                         -7-
                                          7















            sponte grant a directed  verdict pursuant to Fed. R.  Civ. P.

            50(a)  . . . allowing a judge to sua sponte raise a new issue

            post-verdict, and proceed to overturn  a jury verdict on that

            basis contravenes  the dictates  of  Rule 50(b).")  (citation

            omitted) (citing cases).

                      Here, one  might consider  it a close  call whether

            the district court's prior failure, on its own initiative, to

            have  barred plaintiffs' Fourteenth  Amendment claims because

            of our  "aimed at  the relationship" requirement  amounted to

            plain  error, so  as to  allow the court  to engage  later in

            post-verdict  correction.6    But  we need  not  decide  that

            question, because  clearly the district court's prior failure

            to have voluntarily barred  plaintiffs' parallel claims under

            Article  II,    10 of  the Puerto  Rico Constitution  was not
                                                                      ___

            plain error, if, in fact, it was error at all.  

                      Stating that  the elements  of the two  claims were

            identical,  the court instructed  the jury to  award only one

            set  of damages  for the  plaintiffs' individual  claims both






                                
            ____________________

            6.  While this Circuit has adopted an "aimed at the
            relationship" requirement, see Soto v. Flores, 103 F.3d 1056,
                                       ___ ____    ______
            1062 (1st Cir. 1997), some other circuits have not, see,
                                                                ___
            e.g., Kelson v. City of Springfield, 767 F.2d 651, 653-55
            ____  ______    ___________________
            (9th Cir. 1985); Estate of Bailey by Oare v. County of York,
                             ________________________    ______________
            768 F.2d 503, 509 n.7 (3d Cir. 1985); Bell v. City of
                                                  ____    _______
            Milwaukee, 746 F.2d 1205, 1244-45 (7th Cir. 1984), and the
            _________
            Supreme Court has not yet ruled on this issue.

                                         -8-
                                          8















            under   the   Fourteenth  Amendment   and  the   Puerto  Rico

            Constitution.7   It follows  that even if  the district court

            committed plain error in sending  to the jury the plaintiffs'

            individual claims  under  the  Fourteenth  Amendment  of  the

            United States Constitution,  the fact that it  did not commit

            plain error in allowing the Puerto Rican constitutional prong

            of  the claims to go forward prevented it from later allowing

            defendants' Rule 50(b) motion  to invalidate the jury's award

            of individual damages to plaintiffs.  

                      In Puerto Rico, there  is no precedent of  which we

            are aware holding that family members of a deceased victim of

            lethal force used by the police in violation of Article II,  

            10 of the Puerto Rico Constitution either have or do not have

            a  private right of action for their own damages derived from


                                
            ____________________

            7.  The district court instructed the jury, "The plaintiffs'
            claims under the Puerto Rico Constitution essentially mirror
            and are the same as those asserted under the United States
            Constitution."  The court further stated:

                      Since the elements of this claim [under
                      Article II,   10 of the Puerto Rico
                      Constitution] are the same as under the
                      Federal Constitution, I will not repeat
                      them here.  The verdict form that will be
                      provided to you after I finish my
                      instructions will reflect the claims
                      under both the Federal and Puerto Rico
                      Constitutions.  If you find liability
                      under both constitutions, or either of
                      them, the amount of damages you award
                      will only be provided to the plaintiff
                      once, not double.  That is, no double
                      recovery may be granted by you.


                                         -9-
                                          9















            the  victim's  injury and  death.   No  Puerto  Rico opinion,

            however, forecloses  such an action, and  decisions in other,

            related areas  of Puerto  Rico law  indicate that  the Puerto

            Rico Supreme Court might allow it.

                      The provisions  of the Puerto Rico Constitution are

            said  to operate ex proprio  vigore, without the  need for an
                             __________________

            effectuating  statute comparable to    1983.  The Puerto Rico

            Supreme Court has written,  "The fact that a law has not been

            enacted defining  privacy rights does not relieve us from our

            duty to give effect to that provision, since it is known that

            all constitutional  provisions are,  by their own  nature, of

            privileged  norm  under  the legislation,  self-exercisable."

            Quinones v. Commonwealth, 90 P.R.R. 791, 794 (1964).
            ________    ____________

                      More recently, the Court wrote:

                           We  have  repeatedly  held that  the
                      character and  primacy  of the  right  of
                      privacy  operate  ex proprio  vigore, and
                                        __________________
                      may  be  enforced  even  between  private
                      individuals.    We  must  reach  the same
                      conclusion    with    regard    to    the
                      constitutional  right which  protects the
                      inviolability of the dignity of the human
                      being,  and with  regard  to  that  right
                      which protects every worker against risks
                      to his personal integrity in his work.
                           We have also recognized the right to
                      be compensated for  damages caused when a
                      private  citizen  encroaches upon  one of
                      these rights.


            Arroyo  v. Rattan  Specialties,  17 O.T.S.  43, 74-75  (1986)
            ______     ___________________

            (citations omitted).




                                         -10-
                                          10















                      Under this rationale, the Puerto Rico Supreme Court

            held that the victim of an illegal search had a private right

            of action for damages  under the Organic Act of  Puerto Rico,

            even  before  the  Puerto  Rico Constitution  had  come  into

            existence.  See Miguel v. Hernaiz Targa &amp; Co., 51 P.R.R. 568,
                        ___ ______    ___________________

            574-75 (1937).   More recently,  the Court  has recognized  a

            private  right of action for violations of Article II,   10's

            ban  on  wiretapping,  see   Puerto  Rico  Telephone  Co.  v.
                                   ___   ____________________________

            Martinez,  14 O.T.S. 420, 435 (1983); see also Menda Biton v.
            ________                              ________ ___________

            Menda,  796  F.  Supp.  631,  633   (D.P.R.  1992),  and  for
            _____

            violations of Article  II,   8's right to  protection against

            abusive attacks against one's  reputation or family life, see
                                                                      ___

            Ayala  v.  San Juan  Racing  Corp., 12  O.T.S.  1012, 1019-20
            _____      _______________________

            (1982);  Colon  v.  Romero  Barcelo, 12  O.T.S.  718  (1982);
                     _____      _______________

            Gonzalez  v. Cuerda,  88  P.R.R. 121,  130  (1963); see  also
            ________     ______                                 _________

            Rivera-Flores v. Puerto  Rico Telephone Co., 64 F.3d 742, 751
            _____________    __________________________

            n.9 (1st Cir. 1995) (recognizing that Article  II,    1 and 8

            operate ex proprio vigore  to make violators liable for  tort
                    _________________

            damages).

                      Recognition of a  private right of action by  or on

            behalf of the victim  of a constitutional wrong does  not, of

            course, necessarily mean that  members of the victim's family

            may sue  in their individual capacities  for damages suffered

            as  a result  of the victim's  death or injury.   Puerto Rico

            tort  law, however, allows the  close relatives of the victim



                                         -11-
                                          11















            in unlawful death  cases to  recover for  their own  damages.

            See  Hernandez v. Fournier, 80 P.R.R. 93, 96-104 (1957); Caez
            ___  _________    ________                               ____

            v. U.S.  Casualty Co., 80  P.R.R. 729, 734-36  (1958); Rojas-
               __________________                                  ______

            Hernandez v.  Puerto Rico Electric Power  Authority, 925 F.2d
            _________     _____________________________________

            492, 493 (1st Cir. 1991).   As the Puerto Rico Supreme  Court

            wrote,  "Thus, our jurisprudence admits that  the next of kin

            of  the victim are entitled  to compensation for the material

            and moral damages which  they personally suffered, whether or

            not they are heirs of the deceased."  Hernandez, 80 P.R.R. at
                                                  _________

            99.            The same could  well be true  in the realm  of

            constitutional torts as well, although the Puerto Rico courts

            have yet to rule definitively.  See Colon (allowing relatives
                                            ___ _____

            of a murdered man to recover under, inter alia, Article II,  

            8 of the Puerto Rico Constitution's guarantee of privacy, for

            the use  of pictures of  the deceased's  corpse in  political

            advertisements, without clarifying  whether the recovery  was

            for the breach of the deceased's privacy or the relatives').

                      The Supreme Court of Puerto Rico seems particularly

            likely to recognize  a private right  of action for  victims'

            family  members in the privacy arena.  The Court has declared

            that the right of privacy set  forth in sections 1, 8, and 10

            of  Article  II  of  the  Puerto  Rico  Constitution  "has  a

            privileged place in the wide range of rights protected by the

            Constitution."  Commonwealth v. Puerto Rico Telephone Co., 14
                            ____________    _________________________

            O.T.S.  505, 514  (1983);  see also  Kerr-Selgas v.  American
                                       ________  ___________     ________



                                         -12-
                                          12















            Airlines,  Inc.,   69  F.3d   1205,  1213  (1st   Cir.  1995)
            _______________

            (recognizing  the "great importance"  attached by  the Puerto

            Rico  Supreme   Court  to  the   Puerto  Rico  Constitution's

            guarantee of the right of privacy and human dignity).  

                      Although the relevant language  of Article II,   10

            of the Puerto Rico  Constitution is identical to that  of the

            Fourth  Amendment  to  the United  States  Constitution,  the

            Puerto Rico Supreme Court has declared that  it may interpret

            a  provision of  the Puerto  Rico Constitution as  being more

            protective  of  the  right  involved than  is  the  analogous

            provision of the  United States Constitution.  See  People v.
                                                           ___  ______

            Conde Pratts, 15 O.T.S. 411, 416-17 (1984).  Thus, the Puerto
            ____________

            Rico Supreme Court could and might decide against adopting an

            "aimed  at  the  relationship"   test  for  the  Puerto  Rico

            Constitution even if the United States Supreme Court  were to

            adopt  one for the United States Constitution.  The fact that

            the  First Circuit has adopted  such a test  under the United

            States Constitution is  not determinative of  the plaintiffs'

            rights under the Puerto Rico Constitution.

                      We conclude, therefore, that, in the absence of any

            Puerto   Rico  authority   recognizing  an   "aimed  at   the

            relationship" requirement, and given Puerto Rico law's strong

            policy in  favor of compensating the  tort victim's relatives

            for their  independent damages,  it is at  least questionable

            whether  the Puerto Rico courts  would read an  "aimed at the



                                         -13-
                                          13















            relationship"  requirement into private actions brought under

            Article II,   10 of the Puerto Rico Constitution.  It follows

            that it  was not plain error  for the district court  to send
                             _____

            the plaintiffs'  individual  claims  under  the  Puerto  Rico

            Constitution  to the jury.  This being so, the district court

            later committed error when, following the verdict, it allowed

            the defendants'  Rule 50(b)  motion and dismissed  the jury's

            damages  award, which  rested separately  on the  Puerto Rico

            Constitution  as  well  as,  doubtfully,  on  the  Fourteenth

            Amendment.

                      Had the defendants wished to preserve the "aimed at

            the relationship" issue, in particular under Puerto Rico law,

            for ruling  by the district court and  ourselves, they should

            have raised  it when they moved  for judgment as a  matter of

            law during the trial under Rule 50(a) or, at least, by way of

            objection to  the  court's jury  instruction  submitting  the

            individual  plaintiffs'  claims  to  the  jury.    This  they

            completely failed to do.

                      Up  until  this point,  we  have  assumed that  the

            district court's  power to engage in  post-verdict correction

            was  limited  to instances  of plain  error     a  very tough

            standard  in civil  cases.    It  could possibly  be  argued,

            however, that district and appellate courts possess some sort

            of additional  authority to consider  a waived  issue on  the

            merits if it presents an important and novel question of law.



                                         -14-
                                          14















            See  City of  Newport v.  Fact Concerts,  Inc., 453  U.S. 247
            ___  ________________     ____________________

            (1981)  (choosing to  review a  waived issue  de novo  on its

            merits because the district  court had done so, the  court of

            appeals   had  not   disagreed  with  the   district  court's

            conclusions, and the issue  was a novel question of  law that

            was important and likely to recur); Getty Petroleum  Corp. v.
                                                ______________________

            Bartco  Petroleum Corp., 858 F.2d  103, 107-08 (2d Cir. 1988)
            _______________________

            (examining an issue on the  merits despite a party's  failure

            to object  to a jury  instruction because the  district court

            had considered the  question on  the merits  and because  the

            issue involved was an important and novel question of federal

            law, citing  City of  Newport), cert.  denied, 490  U.S. 1006
                         ________________   _____________

            (1989);  Weaver v. Bowers, 657 F.2d 1356, 1361 (3d Cir. 1981)
                     ______    ______

            (relying partly on City of Newport as authority to examine on
                               _______________

            the merits  a defense of failure to  state a claim upon which

            relief  can be granted which  was not raised  until after the

            conclusion   of  the   trial,   stating  that   "in   unusual

            circumstances the courts of  appeals also have inherent power

            to  reach issues  although not  timely raised  below"), cert.
                                                                    _____

            denied, 455 U.S. 942 (1982).  
            ______

                      The  short  answer  to   any  contention  that  the

            district court was empowered  to rule here by the  above City
                                                                     ____

            of Newport principles is that the issue in question is one of
            __________

            Puerto Rico law on  which the Puerto Rico Supreme  Court, and

            not we or even the United States Supreme Court, has the final



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            say.8   As  such, consideration  of the  issue on  the merits

            would "neither  . . . promote  the interests  of justice  nor

            . . . advance  efficient judicial  administration."   City of
                                                                  _______

            Newport, 453 U.S. at 257.
            _______

                      As  we  review  the  defendants'  belated objection

            under  the plain error standard  and find no  plain error, at

            least in respect to the Puerto Rico law claim, we reverse the

            district court's post-trial grant of judgment as  a matter of

            law on the plaintiffs' individual damages claims.

                      We  note that  because  the district  court granted

            judgment  as a  matter  of  law  to  the  defendants  on  the

            plaintiffs'  individual  claims,  it  did  not  consider  the

            defendants'  request, included within their post-trial motion

            under Rules  50(b) and  59, for  a remittitur  and for  a new

            trial  on these  claims.   As  we  have restored  the  jury's

            verdict, we remand to the district  court so that it may  now

            consider  these requests to  the extent  the parties  wish to

            pursue them.

                      Vacated and remanded.
                      ____________________

                                
            ____________________

            8.  A longer answer could be that whatever power the Supreme
            Court relied upon in City of Newport was limited to itself
                                 _______________
            and would least likely apply to non-appellate tribunals, such
            as the district courts, even assuming it were to apply to
            courts of appeal, which remains doubtful, although we do not
            rule on the matter.  As the Court wrote, "While concluding
            that in this unusual case, the interest of justice warrants
            our plenary consideration, we express no view regarding the
            ___
            application of the plain-error doctrine by the Courts of
            Appeals."  City of Newport, 453 U.S. at 257 n.16 (citation
                       _______________
            omitted) (emphasis added).

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